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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

KIMBERLY PHILLIPS,                                *
                                                  *
                        Plaintiff,                *
                                                  *
vs.                                               *       No. 4:92CV00132 SWW
                                                  *
TIMOTHY SUGRUE,                                   *
                                                  *
                        Defendant.                *


                                               Order

       On May 20, 2013, plaintiff filed a revivor of judgment or, in the alternative, motion to revive

judgment. The motion [docket entry 264] is granted. The November 2, 1993, judgment entered in

favor of plaintiff and against defendant in the amount of $506,345.00 compensatory damages and

$1,000,000.00 punitive damages with interest to accrue at the rate of 3.38% per annum is revived.1

       SO ORDERED this 19th day of June, 2013.



                                              /s/Susan Webber Wright

                                              UNITED STATES DISTRICT JUDGE




       1
        On June 24, 2003, the Court entered an Order reviving the judgment. See docket entry 263.
